                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION


 JAMES C. JUSTICE, III, et al.

         Plaintiffs,

V.
                                                        Civil Action No. 7:19-cv-00381
OFFICE OF SURFACE MINING
RECLAMATION AND ENFORCEMENT,
UNITED STATES DEPARTMENT OF
THE INTERIOR,

         Defendant.


       SECOND CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO
                    DEFENDANT’S MOTION TO DISMISS

        COMES NOW, the Plaintiffs, A & G Coal Corp., Bluestone Coal Corporation, Chestnut

Land Holdings, LLC, Kentucky Fuel Corporation, National Coal, LLC, Premium Coal

Company, Incorporated, S and H Mining, Inc., Tams Management, Inc., and James C. Justice, III

(collectively the “Plaintiffs”), through counsel, respectfully submit their Consent Motion for

Extension of Time to Respond to the Defendant’s Motion to Dismiss.

        1.     On November 12, 2019, the Defendant moved to dismiss in this matter. (Dkt. No.

22).

        2.     Pursuant to Local Rule 11(c)(1): “[u]nless otherwise directed by the Court, the

opposing party must file a responsive brief and such supporting documents as are appropriate

within 14 days after service, and the moving party may file a rebuttal brief within 7 days after the

service of the opposing party’s reply brief.”




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       3.      Co-counsel for the Plaintiff, Richard Getty, was recently hospitalized for back

related issues (including back surgery), pneumonia, and other related health issues. As such, Mr.

Getty has not been able to assist with the drafting and briefing in this case to date.

       4.      Plaintiffs represent to the Court that counsel for the Defendant has agreed to an

extension of the Plaintiffs’ deadline to respond until January 7, 2020. This will allow the

Plaintiffs sufficient time to seek the input from Mr. Getty as he recovers from his health issues.

       5.      Good cause exists to extend the filing deadlines.

       6.      A proposed order encompassing the requested relief is attached hereto as Exhibit

A.

       WHEREFORE, Plaintiff request that the Court enter the attached draft Order granting the

extension for the filing of the Plaintiffs’ response related to the Defendant’s Motion to Dismiss.

                                               Respectfully submitted,
                                               /s/ Aaron B. Houchens
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                                                       And

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                                               COUNSEL FOR PLAINTIFFS

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 17th of December 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, and the foregoing was sent to the

following:

       Krista Consiglio Frith
       Assistant United States Attorney
       United States Attorney’s Office for the Western District of Virginia
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                                                           /s/    Aaron Balla Houchens___




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